                  Case 1:19-cv-03377-LAP Document 192 Filed 11/12/20 Page 1 of 1



                                                                                          Christian G. Kiely
                                                                                          ckiely@toddweld.com


                                                                November 12, 2020
   VIA ECF

   Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007-1312

           Re:      Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP

   Your Honor:

          Professor Dershowitz hereby requests a short extension of time, from November 16, 2020 to
   November 18, 2020, to file his Motion to Disqualify. Plaintiff has no objection to the requested
   extension.




                                                       Respectfully submitted,

                                                       /s/ Christian G. Kiely
                                                       Christian G. Kiely

   cc:     All counsel of record, via email




Todd & Weld LLP • Attorneys at Law • One Federal Street, Boston, MA 02110 • T: 617.720.2626 • F: 617.227.5777 • www.toddweld.com
